           Case 3:20-cv-01425-SB     Document 1      Filed 08/20/20   Page 1 of 3




John Barhoum, OSB No. 045150
Email: john.barhoum@chockbarhoum.com
Jeffrey W. Hansen, OSB No. 923290
Email: jeff.hansen@chockbarhoum.com
Chock Barhoum LLP
121 SW Morrison St., Suite 500
Portland, OR 97204
Telephone: 503.223.3000

      Attorneys for Defendant Discount Tire Co. of
      Washington, Inc.




                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION


WILLIAM “LEVI” FAIRCHILD, SARAH                                3:20-cv-1425
                                                     Case No. _________________________
FAIRCHILD and OLIVIA FAIRCHILD,

                           Plaintiffs,           DEFENDANT’S NOTICE OF
                                                 REMOVAL
      v.
                                                 JURY TRIAL REQUESTED
BRANDON A. WHITWORTH; JUSTIN
KNOWLES; KNOWLES ENTERPRISES, LLC,
a dissolved Washington limited liability
company; KNOWLES ENTERPRISES, LLC, a
Washington limited liability company,
DISCOUNT TIRE CO. OF WASHINGTON,
INC., a Washington corporation; DISCOUNT
TIRE CO., INC., an Arizona corporation,

                           Defendants.

      PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1441, § 1446, and § 1332(a),

Defendant Discount Tire Co. of Washington, Inc. (“Defendant”) removes this action from the

 Page 1    DEFENDANT’S NOTICE OF REMOVAL
            Case 3:20-cv-01425-SB        Document 1       Filed 08/20/20     Page 2 of 3




Circuit Court of the State of Oregon for the County of Multnomah to the United States District

Court for the District of Oregon, Portland Division.

                                      RELEVANT FACTS

       On July 22, 2020, Plaintiffs served Defendant with a Summons, Complaint and Amended

Complaint captioned William “Levi” Fairchild, et al. v. Brandon A. Whitworth, et al., Case No.

20CV23378, filed in the Circuit Court for the State of Oregon for the County of Multnomah. See

Declaration of Jeffrey W. Hansen (“Hansen Decl.”), ¶2. Copies of the Summons, Complaint and

Amended Complaint are attached hereto as Exhibits A and B, respectively. Id. These documents,

taken together, constitute all process, pleadings, and orders served on Defendant in that action up

to the present date. Id.

                                 GROUNDS FOR REMOVAL

       Pursuant to 28 U.S.C. § 1441(a), a defendant may remove an action filed in the state court

to the United States District Court if the district court has diversity jurisdiction over the action.

This action is one over which the district court has diversity jurisdiction under 28 U.S.C. §

1332(a)(1). The grounds for removal of this action are:

       1.      Plaintiffs’ principle claims for relief against Defendant exceed $75,000. Plaintiffs

seek damages of $9,827,855.36. Amended Complaint ¶20.

       2.      Plaintiffs and Defendant are residents of different states. Plaintiffs reside in Oregon

and Defendant is a Washington corporation. See Complaint ¶1, 6; see also Defendant’s Corporate

Disclosure Statement (being filed concurrently). Defendant is headquartered with its principal

place of business in Arizona. Hansen Decl., ¶4. Therefore, the United States District Court has

diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(1).

       3.  This Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b), as less than 30
 Page 2 DEFENDANT’S NOTICE OF REMOVAL
            Case 3:20-cv-01425-SB        Document 1       Filed 08/20/20     Page 3 of 3




days have elapsed since copies of the Summons and Complaint were served on Defendant. A copy

of the Service of Process Transmittal received from Defendant’s authorized registered agent for

service of process is attached hereto as Exhibit C. Hansen Decl., ¶3.

       4.      No further proceedings have occurred in the Circuit Court of the State of Oregon

for the County of Multnomah as of the date of this removal other than outlined herein.

       5.      Counsel for Defendant will file a copy of this Notice of Removal with the Clerk of

the Circuit Court of the State of Oregon for the County of Multnomah and will give notice of the

same to Plaintiff as required by 28 U.S.C. § 1446(d).

       WHEREFORE, Defendant Discount Tire Co. of Washington, Inc. prays that this action be

removed from the Circuit Court for the State of Oregon for the County of Multnomah and placed

on the docket of the United States District Court for the District of Oregon in the Portland Division.

       Dated this 20th day of August, 2020.

                                           CHOCK BARHOUM LLP



                                           John R. Barhoum, OSB No. 045150
                                           Email: john.barhoum@chockbarhoum.com
                                           Jeffrey W. Hansen, OSB No. 923290
                                           Email: jeff.hansen@chockbarhoum.com
                                               Attorneys for Defendant Discount Tire Co. of
                                           Washington, Inc.




 Page 3     DEFENDANT’S NOTICE OF REMOVAL
